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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

                                    Case No.: ____________________

IAN B. FREEMAN, SHIRE FREE CHURCH
MONADNOCK, MALAISE LINDENFELD,
PHO KEENE GREAT LLC, ARIA
DIMEZZO, ARIA DIMEZZO (d/b/a
REFORMED SATANIC CHURCH),

        Plaintiffs,

vs.

CITY OF KEENE,
GOVERNOR CHRISTOPHER T. SUNUNU,
in his official and individual capacities,

        Defendants.


                VERIFIED COMPLAINT FOR DECLARATORY JUDGMENT,
                        INJUNCTIVE RELIEF, AND DAMAGES1

        Plaintiffs Ian B. Freeman, Shire Free Church Monadnock, Malaise Lindenfeld, Pho

Keene Great LLC, Aria DiMezzo, and Aria DiMezzo (d/b/a Reformed Satanic Church), bring

this Verified Complaint for Declaratory Judgment, Injunctive Relief, and Damages against

Defendants City of Keene and Governor Christopher T. Sununu, in his official and individual

capacities, to challenge (1) the City of Keene’s enactment of an ordinance (O-2020-09-A)2

requiring individuals who enter any business, who are present in any outdoor area serviced by a

business, or who enter or are present in the common areas of any business, or in the common

areas of any residential building with three or more units, to wear face masks or coverings, and

(2) Governor Sununu’s Emergency Order #63, which requires face coverings for certain
1
  Plaintiffs are filing contemporaneously with this Complaint a Motion for a Temporary Restraining Order and/or
Preliminary Injunction.
2
  https://ci.keene.nh.us/sites/default/files/Community%20Development/covid19/Mask%20Ordinance%20O2020-
09A%2020200806.pdf
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scheduled gatherings of 100 or more individuals. Plaintiffs also seek relief, including damages,

for violation of their Constitutional rights.

                                         INTRODUCTION

        1.      In the famous United States Supreme Court case, Wooley v. Maynard, 430 U.S.

705 (1977), the Court held the state of New Hampshire could not constitutionally require an

individual to display the motto “Live Free or Die” on a license plate because it violated an

individual’s right under the First Amendment to hold a different point of view. Id. at 714-15. It

was, indeed, ironic that a state whose motto was (and still is) “Live Free or Die” would compel

individuals, under the threat of criminal prosecution, to drive around with license plates

depicting the motto “Live Free or Die.” Plaintiffs, like many individuals in Keene and

throughout New Hampshire, wish to live free of such arbitrary mandates.

        2.      The New Hampshire state government, however, has ignored these requirements

since the outbreak of the Coronavirus. Invoking a feigned “public health” crisis under an

unconstitutional delegation of legislative power, Governor Sununu exceeded his statutory

emergency powers, swept aside Plaintiffs’ (and others’) Constitutional rights, and – along with

other state agencies and municipalities (like the City of Keene) – has attempted to control and

regulate nearly every instance of individuals’ daily lives. Since March 2020, the Governor

issued several executive and emergency orders that forced individuals to stay home, shut down

businesses and the school year, and directed individuals in certain gatherings of 100 or more to

wear face coverings, under the guise of “social distancing” requirements and other mitigation

measures in response to the Coronavirus and in the name of preserving the public health of the

population in the state.




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       3.      “There is no pandemic exception” to Plaintiffs’ Constitutional rights. Berean

Baptist Church v. Governor Roy A. Cooper, III, No. 4:20-CV-81-D, at *2 (E.D.N.C. May 16,

2020). “The Constitution is not suspended when the government declares a state of disaster.”

In re Salon a la Mode, et al., No. 20-0340, at *3 (Tex. May 5, 2020) (Blacklock, J., concurring)

(quoting In re Abbott, No. 20-0291, 2020 WL 1943226, at *1 (Tex. Apr. 23, 2020)) (emphasis

added). “Government power cannot be exercised in conflict with the[] constitution[], even in a

pandemic.’” In re Salon a la Mode, et al., No. 20-0340, at *3 (emphasis added). “[A]ll of us –

the judiciary, the other branches of government, and our fellow citizens – must insist that

every action our governments take complies with the Constitution, especially now. If we

tolerate unconstitutional government orders during an emergency, whether out of expediency or

fear, we abandon the Constitution at the moment we need it most.” Id. (emphasis added)

       4.      Although the government may undertake actions “in a well-intentioned effort to

protect” its citizens, “good intentions toward a laudable end are not alone enough to uphold

governmental action against a constitutional challenge.” Cnty. of Butler v. Wolf, Civil Action

No. 2:20-cv-677, at *2 (W.D. Pa. Sep. 14, 2020). “Indeed, the greatest threats to our system of

constitutional liberties may arise when the ends are laudable, and the intent is good—especially

in a time of emergency. In an emergency, even a vigilant public may let down its guard over its

constitutional liberties only to find that liberties, once relinquished, are hard to recoup and that

restrictions—while expedient in the face of an emergency situation—may persist long after

immediate danger has passed.” Id.

       5.      “Any government that has made the grave decision to suspend the liberties of a

free people during a health emergency should welcome the opportunity to demonstrate – both to

its citizens and to the courts – that its chosen measures are absolutely necessary to combat a



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threat of overwhelming severity. The government should also be expected to demonstrate that

less restrictive measures cannot adequately address the threat. . . . When the present crisis

began, perhaps not enough was known about the virus to second-guess the worst-case

projections motivating the lockdowns. As more becomes known about the threat and about the

less restrictive, more targeted ways to respond to it, continued burdens on constitutional

liberties may not survive judicial scrutiny.” In re Salon a la Mode, et al., No. 20-0340, at *3

(emphasis added).

       6.      Indeed, even under the standard articulated in Jacobson v. Massachusetts, 197

U.S. 11 (1905), the United States Supreme Court cautioned that “the police power of a state . . .

may be exerted in such circumstances, or by regulations so arbitrary and oppressive in particular

cases, as to justify the interference of the courts to prevent wrong and oppression.” Cnty. of

Butler, Civil Action No. 2:20-cv-677, at *13 (quoting Jacobson, 197 U.S. at 38). In other words,

“a public health measure may violate the Constitution.” Cnty. of Butler, Civil Action No. 2:20-

cv-677, at *13. The Court has since established different tiers of Constitutional scrutiny separate

from Jacobson because that decision was too “permissive” and “float[ed] about the air as a

rubber stamp for all the most absurd and egregious restrictions on constitutional liberties.” Cnty.

of Butler, Civil Action No. 2:20-cv-677, at *14 (quoting Bayley's Campground, Inc. v. Mills, ___

F. Supp. 3d ___, 2020 WL 2791797, at *8 (D. Me. May 29, 2020)). The Court in County of

Butler concluded the “extraordinarily deferential standard based on Jacobson is not appropriate.”

Id. at *17. In a situation where government officials “are statutorily permitted to act with little, if

any, meaningful input from the legislature,” “[f]or the judiciary to apply an overly deferential

standard would remove the only meaningful check on the exercise of power.” Id. at *21.




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       7.      “[A] public health emergency does not give Governors and other public

officials carte blanche to disregard the Constitution for as long as the medical problem persists.

As more medical and scientific evidence becomes available, and as States have time to craft

policies in light of that evidence, courts should expect policies that more carefully account for

constitutional rights.” Cnty. of Butler, Civil Action No. 2:20-cv-677, at *15 (quoting Calvary

Chapel Dayton Valley v. Sisolak, ___ U.S. ___, 2020 WL 4251360 (Jul. 24, 2020) (Alito, J.,

dissenting).

       8.      New Hampshire, like many states, is confronting this question. While Governor

Sununu’s orders in March 2020 responded to an emerging pandemic about which we had limited

information, New Hampshire no longer has an “emergency,” or even a threat of one, that justifies

the continued restrictions on its citizens and economy. “Emergency” measures that appeared to

be Constitutionally appropriate in March are less appropriate now, given the wealth of

information available that demonstrates New Hampshire’s healthcare system never came close to

reaching capacity, and the Coronavirus is not as deadly as previously feared.

       9.      In addition to these state-wide concerns, the City of Keene proceeded even further

than the Governor by passing an ordinance requiring all individuals who enter or patronize

businesses, or who enter the common areas of residential buildings of three or more units, to

wear face masks or coverings. In doing so, the City ignored or abused certain procedural

requirements. The City lacked the statutory authority to enact such an ordinance, and it is

preempted by Governor Sununu’s numerous emergency orders (assuming they are valid, which

Plaintiffs do not concede) regulating the state’s response to the Coronavirus. Despite these

limitations, the City adopted this ordinance. It is overbroad and violates several of Plaintiffs’

(and other citizens’) constitutional rights.



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       10.      Plaintiffs, among other remedies, principally seek a declaratory judgment and

injunctive relief stating that the City’s ordinance (O-2020-09-A) and Emergency Order #63 are

null and void for the reasons stated above and explained further below.

                                            PARTIES

       11.      Plaintiff Ian B. Freeman is an individual who is a resident of New Hampshire and

who is the Chairman of the Board of Directors of Shire Free Church Monadnock, a Domestic

Nonprofit Corporation, with an address of 73 & 75 Leverett St., Keene, New Hampshire 03431.

Shire Free Church also operates Bitcoin Embassy NH at 661 Marlboro Street, Keene, New

Hampshire 03431.

       12.      Plaintiff Shire Free Church Monadnock is a Domestic Nonprofit Corporation with

the address identified above.

       13.      Plaintiff Malaise Lindenfeld is an individual who is a resident of New Hampshire

and who owns and operates Pho Keene Great, LLC, a New Hampshire Limited Liability

Company with a principal place of business at 11 Main Street, Keene, New Hampshire 03431.

       14.      Plaintiff Pho Keene Great is a New Hampshire Limited Liability Company with

the principal place of business identified above.

       15.      Plaintiff Aria DiMezzo is an individual and a resident of New Hampshire. She

owns the trade name “Reformed Satanic Church,” which operates at 659 Marlboro Road, Keene,

New Hampshire 03431. (According to the New Hampshire Department of State, the trade name

is registered to James Baker. Mr. Baker changed his name to “Aria DiMezzo.” They are the

same person.)

       16.      Defendant City of Keene is a municipal corporation with a business address of 3

Washington Street, Keene, New Hampshire 03431.



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        17.     Defendant Christopher T. Sununu is the Governor of New Hampshire and is being

sued in his official and individual capacities. The Governor’s address is 107 North Main Street,

Concord, New Hampshire 03301.

                                  JURISDICTION AND VENUE

        18.     This Court has subject matter jurisdiction over Plaintiffs’ claims for declaratory

relief pursuant to 28 U.S.C. §§ 2201 and 2202, 28 U.S.C. § 1367(a), and Federal Rule of Civil

Procedure 57.

        19.     This Court also has subject matter jurisdiction over Plaintiffs’ constitutional

claims under 42 U.S.C. § 1983 pursuant to 28 U.S.C. §§ 1331 (federal question jurisdiction) and

1343 (jurisdiction over claims arising under federal civil rights statutes).

        20.     The Court has personal jurisdiction over the Defendants because they are located

in New Hampshire, and their conduct occurred in New Hampshire.

        21.     This Court also has pendant/supplemental jurisdiction under 28 U.S.C. § 1367(a)

over any state law claims herein.

        22.     Venue is proper in this District because all the parties conduct business in this

District, all of the acts alleged occurred in New Hampshire, and all the parties reside in New

Hampshire.

                                    FACTUAL ALLEGATIONS

A.      Keene’s Adoption of a City Charter

        23.     Mr. Freeman is a radio talk show host, a minister, and an ambassador at Bitcoin

Embassy NH. Mr. Freeman’s talk show (“Free Talk Live”) is broadcast from Keene, NH. It is

syndicated on over 200 radio stations and two television stations across the United States.




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       24.     Ms. Lindenfeld is an immigrant from Venezuela. Her parents fled Cuba for

Venezuela after Fidel Castro’s revolution in 1959 ushered in Cuba’s current period of oppressive

communist and totalitarian rule. Ms. Lindenfeld came to the United States in 1979 on a student

visa. She married an American citizen in 1983 and obtained a green card in 1984. She attended

school and completed the culinary program at the New York Restaurant School in 1989. Ms.

Lindenfeld moved to New Hampshire part-time in 1999 and permanently settled there in 2003.

In New Hampshire, she transformed her passion for food into a career as a restaurant owner and

small business owner. Ms. Lindenfeld successfully opened and operated three restaurants in

Cheshire County: Audrey’s Café in Dublin, Piedra Fina in Marlborough, and Pho Keene Great in

Keene. The first two of those three restaurants closed permanently earlier this year due to

Governor Sununu’s Emergency Orders shutting down restaurants. Ms. Lindenfeld opened Pho

Keene Great in March 2019. It is a Vietnamese restaurant that primarily serves the Vietnamese

soup “pho,” a popular soup consisting of broth, rice noodles, herbs, and meat. It is a popular

street food in Vietnam and served in restaurants around the world.

       25.     Ms. DiMezzo is originally from Mississippi and is a writer and author of two

books, and – recently – the GOP nominee for the New Hampshire Cheshire County Sheriff.

B.     Keene’s Adoption of a City Charter

       26.     Various authorities dictate what subject areas cities may govern and how they can

govern those areas.

       27.     Cities may implement their chosen form of government through the adoption of a

“city charter.” Part I, Article 39 of the New Hampshire Constitution states “[t]he legislature may

by general law authorize cities and towns to adopt or amend their charters or forms of

government in any way which is not in conflict with general law, provided that such charters or



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amendments shall become effective only upon the approval of the voters of each such city or

town on a referendum.”

           28.      This power is known as the “home rule power,” and it is “a vehicle whereby a

municipality may adopt a form of government that best addresses local needs.” RSA 49-B:1.

The legislature recognized, however, that there must be “uniform procedures and practices when

there is a corresponding state interest.” Id. This “home rule power” does not “create any power

in, or confer any power upon, any city or town beyond that necessary to carry out the amendment

of a charter or form of government as set forth in this chapter.” Id. A city may “adopt, amend,

or revise a municipal charter relative to their form of government so long as the resulting

charter is neither in conflict with nor inconsistent with the general laws or the constitution of

this state.” Id. (emphasis added). If a proposed charter “denominates the municipality as a city,

the charter shall be prepared pursuant to RSA 49-C.” RSA 49-B:2, III.

           29.      RSA 49-C:1, in turn, “implement[ed]” Part I, Article 39 of the New Hampshire

Constitution by “enabling municipalities to draft city charters within the framework of the statute

without need for creating special charters by action of the general court.” Cities are required to

file these charters with the Secretary of State. RSA 44:1-a.

           30.      Keene adopted its City Charter in 1970.3 It amended its Charter numerous times,

including under the framework established above.4 This Charter establishes the City’s form of

government.

B.         The Limits on Keene’s Enactment of Legislation

           31.      Keene’s “legislation shall be by ordinance.” RSA 49-C:14; Charter § 23.



3
    https://ci.keene.nh.us/my-city-government/keene-city-charter
4
    See id.


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        32.     The ordinances a city may enact, however, are limited to what its enabling

statutes prescribe. RSA 44:1 states “[a]ll cities now or hereafter incorporated shall have,

exercise and enjoy all the rights, immunities and privileges of, and shall be subject to all the

duties incumbent upon, or appertaining to, the town corporations to which they succeed.” RSA

Chapter 31, which identifies the powers and duties of towns, was made to apply to cities as well:

“All provisions of statutes, now made or hereafter enacted relating to towns, shall be understood

to apply to cities; and all provisions relating to the selectmen and town clerks of towns shall be

construed to apply to the mayor and aldermen and clerks of cities, respectively, unless a different

intention appears.” RSA 44:2; see also Girard v. Town of Allenstown, 121 N.H. 268, 269 (1981)

(RSA 31:39 . . . delegates certain general police powers to the towns and municipalities within

the State.”).

        33.     RSA 31:39 (titled “Power to Make Bylaws”) provides what kinds of bylaws

towns (and, by extension, cities) may enact. RSA 47:17 (titled “Bylaws and Ordinances”)

identifies what kinds of bylaws and ordinances cities may enact through their city councils. (A

city governs through a “city council,” which is comprised of a “mayor, board of aldermen, and

common council.” RSA 44:3.)

        34.     In Girard, the New Hampshire Supreme Court labeled the powers identified in

RSA 31:39 a town’s “police power” and explained, “[a]lthough th[is] police power is broad and

has been described as including ‘such varied interests as public health, safety, morals, comfort,

the protection of prosperity, and the general welfare, it is not unlimited.’” 121 N.H. at 270

(internal citation omitted). “[T]owns only have ‘such powers as are expressly granted to them by

the legislature and such as are necessarily implied or incidental thereto.’” Id. at 270-71 (quoting

Piper v. Meredith, 110 N.H. 291, 295 (1970)) (emphases in original).



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       35.     With respect to city councils, these limits are contained in RSA 49-C:15: A city

council “shall have all the powers and discharge all the duties conferred or imposed upon” it “by

RSA 44 through RSA 48 or other general law now in force or later enacted.” RSA 49-C:15.

       36.     Accordingly, RSA 31:39 provides the specific subject areas about which towns

(and cities) may enact laws:

       (a) The care, protection, preservation and use of the public cemeteries, parks,
       commons, libraries and other public institutions of the town;
       (b) The prevention of the going at large of horses and other domestic animals in
       any public place in the town;
       (c) The observance of Memorial Day, whereby interference with and disturbance
       of the exercises for such observance, by processions, sports, games or other
       holiday exercises, may be prohibited;
       (d) Regulation of the use of mufflers upon boats and vessels propelled by
       gasoline, oil or naphtha and operating upon the waters within the town limits;
       (e) The kindling, guarding and safekeeping of fires, and for removing all
       combustible materials from any building or place, as the safety of property in the
       town may require;
       (f) The collection, removal and destruction of garbage, snow and other waste
       materials;
       (g) Regulating the operation of vehicles, except railroads as common carriers,
       upon their streets;
       (h) Regulating the conduct of public dances;
       (i) Regulating the conduct of roller skating rinks;
       (j) Regulating the sanitary conditions of restaurants within town limits in
       accordance with the provisions of RSA 147:1;
       (k) Issuing a license for the operation of a restaurant and other food serving
       establishments within the town limits and charging a reasonable fee for same;
       (l) Making and ordering their prudential affairs;
       (m) Issuing permits for tattooing facilities and charging a fee for the permit; and
       (n) Regulating noise.
       (o) Requiring the reporting of contributions to, and expenditures by, any
       candidate or political committee made for the purpose of influencing the election
       of any candidate for local elective office, or any person or committee for the
       purpose of influencing the vote on any local ballot or referendum question.
       (p) Regulating the retail display and accessibility of martial arts weapons
       including throwing stars, throwing darts, nunchaku, blow guns, or any other
       objects designed for use in the martial arts that are capable of being used as lethal
       or dangerous weapons.

RSA 31:39, I(a)-(p).



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       37.    RSA 47:17 also provides the specific subject areas about which cities may enact

ordinances:

       I. In General. To carry into effect all the powers by law vested in the city.
       II. Order and Police Duty. To regulate the police of the city; to prevent any riot,
       noise, disturbance, or disorderly assemblages; to regulate the ringing of bells,
       blowing of horns or bugles, and crying goods and other things; and to prescribe
       the powers and duties of police officers and watchmen.
       III. Disorderly Houses and Gaming. . . .
       IV. Sale of Liquor. . . .
       V. Shows. To regulate or prohibit the exhibitions of natural or artificial
       curiosities, caravans, circuses, theatrical performances, or other shows.
       VI. Porters, Vehicles, Etc. . . . .
       VII. Use of Public Ways. To regulate all streets and public ways, wharves, docks,
       and squares, and the use thereof, and the placing or leaving therein any carriages,
       sleds, boxes, lumber, wood, or any articles or materials, and the deposit of any
       waste or other thing whatever; the removal of any manure or other material
       therefrom; the erection of posts, signs, steps, public telephones, telephone booths,
       and other appurtenances thereto, or awnings; the digging up the ground by traffic
       thereon or in any other manner, or any other act by which the public travel may be
       incommoded or the city subjected to expense thereby; the securing by railings or
       otherwise any well, cellar, or other dangerous place in or near the line of any
       street; to prohibit the rolling of hoops, playing at ball or flying of kites, or any
       other amusement or practice having a tendency to annoy persons passing in the
       streets and sidewalks, or to frighten teams of horses within the same; and to
       compel persons to keep the snow, ice, and dirt from the sidewalks in front of the
       premises owned or occupied by them.
       VIII. Traffic Devices and Signals. . . .
       IX. Combustibles. . . . .
       X. Stock at Large. To regulate, restrain, or prohibit the keeping or running at large
       of horses, cattle, sheep, swine, geese, goats and other poultry and animals, or any
       of them, to create the limits of districts within which the same may be kept and
       the conditions and restrictions under which they may be kept.
       XI. Dogs. . . . .
       XII. Markets, Sales. To establish markets and market-places; regulate the place
       and manner of selling and weighing hay, selling pickled and other fish, and salted
       and fresh provisions; selling and measuring wood, lime, coal, and other heavy
       articles; and to appoint suitable persons to superintend and conduct the same; to
       prevent and punish forestalling and regrating; and to restrain every kind of
       fraudulent device and practice.
       XIII. Vagrants, Obscene Conduct. To restrain and punish vagrants, mendicants,
       street beggars, strolling musicians, and common prostitutes, and all kinds of
       immoral and obscene conduct, and to regulate the times and places of bathing and
       swimming in the canals, rivers and other waters of the city, and the clothing to be
       worn by bathers and swimmers.

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      XIV. Nuisances. To abate and remove nuisances; to regulate the location and
      construction of slaughterhouses, tallow chandlers' shops, soap factories, tanneries,
      stables, barns, privies, sewers, and other unwholesome or nauseous buildings or
      places, and the abatement, removal or purification of the same by the owner or
      occupant; to prohibit any person from bringing, depositing, or having within the
      city any dead carcass or other unwholesome substance; to provide for the removal
      or destruction, by any person who shall have the same upon or near such person's
      premises, of any such substance, or any putrid or unsound beef, pork, fish, hides,
      or skins, and, on such person's default, to authorize the removal or destruction
      thereof by some officer of the city; to authorize and provide for the collection,
      removal, and destruction of garbage and other waste material, to make necessary
      regulations relative thereto, and to provide for payment therefor by assessment, or
      appropriation, or both. . . .
      XIV-a. Interfering With Voters. . . .
      XIV-b. Local Election Reporting Requirements. . . .
      XV. Miscellaneous. Relative to the grade of streets, and the grade and width of
      sidewalks; to the laying out and regulating public squares and walks, commons,
      and other public grounds, public lights, and lamps; to trees planted for shade,
      ornament, convenience, or use, and the fruit of the same; to trespasses committed
      on public buildings and other public property, and in private yards and gardens; in
      relation to cemeteries, public burial grounds, the burial of the dead, and the
      returning and keeping records thereof, and bills of mortality, and the duties of
      physicians, sextons and others in relation thereto; relative to public wells, cisterns,
      pumps, conduits, and reservoirs; the places of military parade and rendezvous,
      and the marching of military companies with music in the streets of the city;
      relative to precautions against fire; relative to oaths and bonds of city officers, and
      penalties upon those elected to such offices refusing to serve; and relative to
      licensing and regulating butchers, petty grocers, or hucksters, peddlers, hawkers,
      and common victualers; dealers in and keepers of shops for the purchase, sale or
      barter of junk, old metals or second-hand articles, and pawnbrokers; under such
      limitations and restrictions as to them shall appear necessary. . . .
      XVI. Warnings and Citations. To establish a procedure for the issuance of
      warnings and citations for the violation of health, fire, planning board, building,
      licensing, zoning, and housing codes and ordinances.
      XVII. Drug-Free Zones. Establish as a drug-free zone any area inclusive of public
      housing authority property and within 1,000 feet of such public housing authority
      property. . . .
      XVIII. Automobile Parking Controls. . . .
      XIX. Businesses Obtaining City Permits. . . .

RSA 47:17, I-XIX.




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        38.    RSA 47:17, XV states that, although a city “may make any other bylaws and

regulations which may seem for the well-being of the city; . . . no bylaw or ordinance shall be

repugnant to the constitution or laws of the state.”

        39.    The penalty for a violation of any municipal laws passed pursuant to RSA 31:39,

I, or RSA 47:17 may include a fine of up to $1,000. RSA 31:39, III; RSA 47:17.

        40.    None of the areas in the authorities above permits municipalities to enact

legislation requiring that individuals wear face coverings or face masks, let alone any legislation

concerning what anyone may or may not wear. Further, nothing in Title X (“Public Health”),

RSA Chapters 125-149-Q, permits municipalities to enact similar legislation. Indeed, there is no

New Hampshire statute, rule, or regulation that permits municipalities to enact that kind of

legislation.

C.      Keene’s Form of Government

        City Council and Mayor

        41.    Keene’s City Charter states “all the powers of the City shall be vested in a City

Council composed of two (2) Ward Councilors from each ward.” Charter § 18.

        42.    “The Mayor shall be the official head of the City for all ceremonial purposes,”

“shall preside at all meetings of the City Council” but “shall have no power to vote, except in the

case of a tie.” Id. § 19. “All other duties of the Mayor prescribed by law shall be exercised by

the City Manager.” Id.

        43.    “The City Council . . . shall have all the powers and discharge all the duties

conferred or imposed upon City Councils in convention, City Councilors voting concurrently, or

Board of Mayor and Alderman acting separately.” Id. § 22. The Council shall also “have the

powers of Selectmen of towns.” Id.



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       44.     Before it may enact a new ordinance, a city council must accomplish two tasks:

(1) it must keep a copy of a proposed ordinance “on file at the office of the city clerk and at such

other public place as the city council may designate;” and (2) “[n]otice of proposal . . . of . . . an

ordinance shall be made by publishing the title and brief description of the . . . ordinance in such

newspaper or newspapers as the city council shall direct.” RSA 47:18. Although RSA 47:18

states “[t]he sufficiency of the published notice shall not affect the validity of the ordinance,” the

statute, nevertheless, requires the proposed ordinance be published. See id.

       45.     In Keene, “all Ordinances passed by the City Council shall take effect upon their

passage unless otherwise directed by the City Council. All Ordinances shall be signed by the

Mayor and shall be recorded at length uniformly and permanently by the City Clerk, and each

Ordinance so recorded shall be authenticated by the signature of the City Clerk.” Charter § 23.

D.     The Novel Coronavirus

       46.     In late 2019 or early 2020, a novel viral infection known as the Novel

Coronavirus (COVID-19) began circulating in the United States, first on the west coast and then

on the east coast. Dozens of residents in two nursing homes in Washington state became ill and

died; they were confirmed to have been infected with COVID-19, the aforementioned novel

virus that originated in Hubei province, China. Other cases soon began to appear throughout the

country.

       47.     The various models earlier this year suggested this virus would wreck disaster on

the United States, spreading rapidly and causing millions of deaths. On March 16, 2020, a 20-

page report from Neil Ferguson’s team at Imperial College London “warned that an uncontrolled

spread of the disease could cause as many as 510,000 deaths in Britain” and “up to 2.2 million




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deaths in the United States.”5 This report “triggered a sudden shift in the government’s

comparatively relaxed response to the virus” and “influenced the White House to strengthen its

measures to isolate members of the public.”6

E.         The State of New Hampshire’s Response to the Coronavirus

           48.     In the wake of the terrorist attacks on September 11, 2001, the New Hampshire

General Court enacted legislation giving the Governor broad authority to take certain action

during a “state of emergency.” This authority was codified in RSA 4:45, 4:47, 21-P:35, 21-P:37,

and 21-P:43.

           49.     RSA 4:45 defines what constitutes a “state of emergency,” and RSA 4:47 defines

and explains the “emergency management powers” the Governor may access after declaring a

“state of emergency” under RSA 4:45.

           50.     RSA 4:45, I states, “[t]he governor shall have the power to declare a state of

emergency . . . by executive order if the governor finds that a natural, technological, or man-

made disaster of major proportions is imminent or has occurred within this state, and that the

safety and welfare of the inhabitants of this state require an invocation of the provisions of this

section.”

           51.     A “state of emergency” is defined as a “condition, situation, or set of

circumstances deemed to be so extremely hazardous or dangerous to life or property that it is

necessary and essential to invoke, require, or utilize extraordinary measures, actions, and

procedures to lessen or mitigate possible harm.” RSA 21-P:35, VIII.

           52.     “A state of emergency shall terminate automatically 21 days after its declaration

unless it is renewed under the same procedures set forth in paragraph I of this section.” RSA

5
    https://www.nytimes.com/2020/03/17/world/europe/coronavirus-imperial-college-johnson.html
6
    Id.


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4:45, II. “The governor may, by executive order, renew a declaration of a state of emergency as

many times as the governor finds is necessary to protect the safety and welfare of the inhabitants

of this state.” Id.

          53.   “The legislature may terminate a state of emergency by concurrent resolution

adopted by a majority vote of each chamber. The governor’s power to renew a declaration of a

state of emergency shall terminate upon the adoption of a concurrent resolution . . . ; provided,

however, that such resolution shall not preclude the governor from declaring a new emergency

for different circumstances . . . .” RSA 4:45, II(c).

          54.   If the legislature takes no action, however, only the Governor can terminate a

“state of emergency” declaration: “If the governor finds that maintaining the state of emergency

is no longer justified, the governor shall issue an executive order terminating the state of

emergency.” RSA 4:45, II(b).

          55.   “During the existence of a state of emergency, and only for so long as such state

of emergency shall exist, the governor shall have and may exercise the following additional

emergency powers: . . . To perform and exercise such other functions, powers, and duties as are

necessary to promote and secure the safety and protection of the civilian population.” RSA 4:45,

III(e).

          56.   In addition, “[t]he governor shall have emergency management authority as

defined in RSA 21-P:35, V, and pursuant to such authority may exercise emergency management

powers including: . . . The power to make, amend, suspend and rescind necessary orders, rules

and regulations to carry out the provisions of this subdivision in the event of a disaster beyond

local control.” RSA 4:47, III. “Emergency management” is defined as “the preparation for and

the carrying out of all emergency functions, including but not limited to emergency response and



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training functions, to prevent, minimize, and repair injury or damage resulting from the

occurrence or threat of widespread or severe damage, injury, or loss of life or property resulting

from any natural or human cause, including but not limited to fire, flood, earthquake, windstorm,

wave actions, technological incidents, oil or chemical spill, or water contamination requiring

emergency action to avert danger or damage, epidemic, air contamination, blight, drought,

infestation, explosion, terrorist act, or riot.” RSA 21-P:35, V.

           57.     Pursuant to the powers above, Governor Sununu issued a series of executive

orders and emergency orders beginning in March and through the date of this filing to address

the outbreak of the Novel Coronavirus (COVID-19).

           58.     On March 13, 2020, Governor Sununu issued Executive Order 2020-04 (“An

order declaring a state of emergency due to Novel Coronavirus (COVID-19)”), which declared a

state of emergency for the entire state of New Hampshire. N.H. Exec. Order No. 2020-04 (Mar.

13, 2020).7 That Order stated, “Pursuant to RSA 4:45 and RSA 4:47, while this Order is in

effect, additional temporary orders, directive, rules and regulations may be issued either by the

Governor or by designated State officials with written approval of the Governor.” Id. ¶ 18.

           59.     Two days later, on March 15, 2020, Governor Sununu began issuing a series of

“Emergency Orders” addressing numerous aspects of society, ranging from school districts to the

conduct of businesses.

           60.     For example, on March 15, Governor Sununu issued Emergency Order #1

Pursuant to Executive Order 2020-04. N.H. Emer. Order No. 1 (Mar. 15, 2020).8 That Order

stated “[a]ll public K-12 school districts within the state of New Hampshire shall transition to



7
    https://www.governor.nh.gov/news-media/orders-2020/documents/2020-04.pdf
8
    https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-1.pdf


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temporary remote instruction and support for a three week period beginning Monday, March

16th, 2020 and ending Friday, April 3rd, 2020.” Id. ¶ 1.

           61.   The next day, March 16, 2020, Governor Sununu issued Emergency Order #2

Pursuant to Executive Order 2020-04. N.H. Emer. Order No. 2 (Mar. 16, 2020).9 That Order

prohibited “[s]cheduled gatherings of 50 people or more for social, spiritual and recreational

activities, including but not limited to, community, civic, public, leisure, faith based, or sporting

events; parades; concerts; festivals; conventions; fundraisers; and similar activities.” Id. ¶ 1.

           62.   On March 18, 2020, Governor Sununu issued Emergency Order #6 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 6 (Mar. 18, 2020).10 That Order allowed

restaurants, diners, bars, and private clubs to “allow for takeout or delivery of beer and wine.”

Id. ¶ 1.

           63.   On March 21, 2020, Governor Sununu issued Emergency Order #10 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 10 (Mar. 21, 2020).11 That Order directed all

grocery stores, “[i]n order to prevent the spread of COVID-19 through grocery sales, and to

promote and secure the safety and protection of the people of New Hampshire,” to “transition to

exclusive use of store provided single use plastic or paper bags when bagging groceries or other

products for customers.” Id. ¶ 1.

           64.   On March 23, 2020, Governor Sununu issued Emergency Order #13 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 13 (Mar. 23, 2020).12 That Order directed all

pharmacies, “[t]o promote and secure the safety and protection of the people of New

Hampshire,” to “compound and sell hand sanitizer over the counter,” subject to certain

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  https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-2.pdf
10
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-6.pdf
11
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-10.pdf
12
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-13.pdf


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requirements, and stated “[t]he general public may visit a participating pharmacy on a walk-in

basis and purchase compounded OTC hand sanitizer.” Id. ¶ 1.

           65.     The same day, Governor Sununu issued Emergency Order #16 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 16 (Mar. 23, 2020).13 That Order reduced the

limit on public gatherings established in Emergency Order #2 from 50 people to 10 people. Id. ¶

1.

           66.     On March 26, 2020, Governor Sununu issued Emergency Order #17 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 17 (Mar. 26, 2020).14 That Order directed

“[a]ll businesses and other organizations that do not provide Essential Services” to “close their

physical workplaces and facilities to workers, customers, and the public and cease all in person

operations as of 11:59 p.m. on March 27, 2020 and shall not re-open to workers, customers or

the public or resume in person operations before 12:01 a.m. on May 4, 2020.” Id. ¶ 2. It also

ordered all New Hampshire citizens to “stay at home” except for several exceptions:

           a) Leaving home to get fresh air or exercise, provided that social distancing
              protocols consistent with guidance from the Division of Public Health are
              observed;
           b) Leaving home for outdoor recreation provided that appropriate social
              distancing protocols are observed and provided that such recreation complies
              with any limitations contained within Executive Order 2020-04 and any
              Emergency Orders issued pursuant to Executive Order 2020-04;
           c) Leaving home to run essential errands such as going to the grocery store,
              pharmacy, laundromat, or fulfilling any other errands an individual determines
              to be essential for everyday needs;
           d) Leaving home to visit a spouse, parent, or child;
           e) Leaving home to provide care for another person;
           f) Leaving home to go to the gas station;
           g) Leaving home to order and pick up take-out food;
           h) Receiving deliveries from Amazon, UPS, Fedex, the U.S. Postal Service, or
              any other deliveries;
           i) Leaving home to receive essential medical care or essential medical services;

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     https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-16.pdf
14
     https://www.governor.nh.gov/news-media/emergency-orders/documents/emergency-order-17-1.pdf


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           j) Leaving home for purposes of an individual's employment if the individual is
              employed at a business or organization that provides Essential Services or a
              business or organization to whom this Order does not apply pursuant to
              Sections 5-7; and
           k) Leaving home for purposes of employment in cases where an individual is
              working remotely for a business that does not provide Essential Services.

Id. ¶ 4.

           67.    On March 27, 2020, Governor Sununu issued Emergency Order #19 Pursuant to

Executive Order 2020-04. N.H. Emer. Order No. 19 (Mar. 27, 2020).15 That Order extended the

period of remote instruction for schools another month. Id. ¶ 1.

           68.    On April 3, 2020, Governor Sununu then issued Executive Order 2020-05

(“Extension of State of Emergency Declared in Executive Order 2020-04”), which “renew[ed]

the Declaration of a State of Emergency due to Novel Coronavirus (COVID-19) and extend[ed]

the State of Emergency declared in Executive Order 2020-04 for a period of 21 days,” or through

April 24, 2020. N.H. Exec. Order No. 2020-05 (Apr. 3, 2020).16 That Order extended “[a]ll

provisions of Executive Order 2020-04, and all Emergency Orders issued pursuant thereto . . . .”

Id. ¶ 1.

           69.    The next day, Governor Sununu issued Emergency Order #26 Pursuant to

Executive Order 2020-04 as Extended by Executive Order 2020-05. N.H. Emer. Order No. 26

(Apr. 4, 2020).17 That Order extended Emergency Order #6 (permission for restaurants, diners,

bars, and private clubs to allow for takeout or delivery of beer and wine) and Emergency Order

#16 (limit on public gatherings to 10 people) until May 4, 2020. Id. ¶ 1.

           70.    On April 16, 2020, Governor Sununu issued Emergency Order #32 Pursuant to

Executive Order 2020-04, as Extended by Executive Order 2020-05. N.H. Emer. Order No. 32

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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-19.pdf
16
   https://www.governor.nh.gov/news-media/orders-2020/documents/2020-05.pdf
17
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-26.pdf


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(Apr. 16, 2020).18 That Order extended the period of remote instruction for the rest of the school

year, effectively canceling the school year. Id. ¶ 1.

        71.     On April 24, 2020, Governor Sununu issued Executive Order 2020-08 (“Second

Extension of State of Emergency Declared in Executive Order 2020-04”), which again

“renew[ed] the Declaration of a State of Emergency due to Novel Coronavirus (COVID-19) and

extend[ed] the State of Emergency declared in Executive Order 2020-04 for a period of 21 days,”

or until May 15, 2020. N.H. Exec. Order 2020-08 (Apr. 24, 2020).19 That Order extended “[a]ll

provisions of Executive Order 2020-04 as extended by Executive Order 2020-05, and all

Emergency Orders issued pursuant thereto . . . .” Id. ¶ 1.

        72.     On May 1, 2020, Governor Sununu issued Emergency Order #40 Pursuant to

Executive Order 2020-04 as extended by Executive Orders 2020-05 and 2020-08. N.H. Emer.

Order No. 40 (May 1, 2020).20 That Order “extend[ed] and modif[ied] Emergency Order #17

(Closure of non-essential businesses and requiring Granite Staters to stay at home).” Id. It again

directed “[a]ll businesses and other organizations [except for several types of businesses] that do

not provide Essential Services [to] continue to close their physical workplaces and facilities to

workers, customers and the public and [to] continue to cease all in person operations until 12:01

a.m. on May 31, 2020.” Id. ¶ 2. The Order allowed certain businesses, such as barber shops and

hair salons, to re-open but subject to certain restrictions: “In order to begin the gradual re-

opening of New Hampshire’s economy in a safe manner that places an emphasis on the needs of

public health, certain businesses and organizations may resume operations (or select portions of

their operations) according to the schedule and guidelines attached to this Order.” Id. ¶ 5.


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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-32.pdf
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   https://www.governor.nh.gov/news-media/orders-2020/documents/2020-08.pdf
20
   https://www.governor.nh.gov/news-media/emergency-orders/documents/emergency-order-40.pdf


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        73.      To achieve that end, Emergency Order #40 provided “universal guidelines” for all

New Hampshire employers and employees. Id., Ex. B.21 Section 4 of those guidelines states,

“[w]hile at work and in public, employees should wear a cloth face covering to help protect

against the spread of the virus.” Id., Ex. B § 4. Section 2 reiterates that guideline: “All

employees . . . should . . . wear a cloth face covering while at work and in potential close contact

with others.” Id., Ex. B § 2. So does section 6: “Employers must reduce the risk to employees in

the workplace by supporting the use of cloth face coverings in areas where social distancing is

difficult to maintain.” Id., Ex. B § 6.

        74.      Emergency Order #40 then identified the businesses it would permit to re-open: it

allowed the food services industry, campgrounds, state parks, retail stores, golf courses, dentists,

barbers, hair salons, drive-in movie theaters, outdoor attractions, and equestrian facilities to

resume operations, and elective procedures at hospitals to resume, in accordance with certain

guidelines. Id., Ex. C,22 D.23 In virtually all instances, these guidelines require employees of

these businesses and establishments to wear masks or face coverings. See id. Some of these

businesses are required to ask customers or clients to wear masks or face coverings, including

campgrounds, parks, retail stores, hospitals, and dentists. See id. Customers entering restaurants

must wear face masks or coverings when entering or exiting an establishment, but not while

seated; and customers at hair salons must wear face masks or coverings. See id. Customers at

equestrian facilities must be asked to wear masks when in a barn but not while riding. See id.

Id.




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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/files/inline-documents/emergency-order-40-ex-b.pdf
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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-40-c.pdf
23
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/files/inline-documents/emergency-order-40-ex-d.pdf


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       75.     Like Emergency Order #17, Emergency Order #40 also ordered all New

Hampshire citizens to “stay at home” except for several exceptions:

       a) Leaving home to get fresh air or exercise, provided that social distancing
          protocols consistent with guidance from the Division of Public Health are
          observed;
       b) Leaving home for outdoor recreation provided that appropriate social
          distancing protocols are observed and provided that such recreation complies
          with any limitations contained within Executive Order 2020-04, as extended
          by Executive Orders 2020-05 and 2020-08, and any Emergency Orders issued
          pursuant to Executive Order 2020-04;
       c) Leaving home to run essential errands such as going to the grocery store,
          pharmacy, laundromat, or fulfilling any other errands an individual determines
          to be essential for everyday needs;
       d) Leaving home to visit a spouse, parent, or child;
       e) Leaving home to provide care for another person;
       f) Leaving home to go to the gas station;
       g) Leaving home to order and pick up take-out food;
       h) Receiving deliveries from Amazon, UPS, Fedex, the U.S. Postal Service, or
          any other deliveries;
       i) Leaving home to receive medical or dental care or medical services;
       j) Leaving home for purposes of an individual's employment if the individual is
          employed at a business or organization that provides Essential Services, a
          business or organization that has been permitted to resume certain in person
          operations pursuant to paragraph 4 of this Order, or a business or organization
          to whom this Order does not apply pursuant to paragraphs 7-9 of this Order;
          and
       k) Leaving home for purposes of employment in cases where an individual is
          working remotely for a business that does not provide Essential Services, has
          not otherwise been permitted to resume in person operation, or is not
          exempted from this Order pursuant to paragraphs 7-9; and
       l) Leaving home to patronize or seek services from a business or organization
          that is providing Essential Services, a business or organization that has been
          permitted to resume certain in person operations pursuant to paragraph 4 of
          this Order, or a business or organization to whom this Order does not apply
          pursuant to paragraphs 7-9 of this Order.

Id. ¶ 6. It also again extended Emergency Order #6 (permission for restaurants, diners, bars, and

private clubs to allow for takeout or delivery of beer and wine) and Emergency Order #16 (limit

on public gatherings to 10 people) until May 31, 2020. Id. ¶ 1.




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        76.      On May 15, 2020, Governor Sununu issued Executive Order 2020-09 (“Third

Extension of State of Emergency Declared in Executive Order 2020-04”), which again

“renew[ed] the Declaration of a State of Emergency due to Novel Coronavirus (COVID-19) and

extend[ed] the State of Emergency declared in Executive Order 2020-04 for a period of 21 days,”

or until June 5, 2020. N.H. Exec. Order 2020-09 (May 15, 2020).24 That Order extended “[a]ll

provisions of Executive Order 2020-04 as extended by Executive Orders 2020-05 and 2020-08,

and all Emergency Orders issued pursuant thereto . . . .” Id. ¶ 1.

        77.      At a press conference on May 29, 2020, Governor Sununu explained that the

“stay at home order” (referring to Emergency Order #40 and its shutdown of non-essential

businesses, “guidelines” certain businesses must follow if they re-open, and “stay-at-home”

guidelines for individuals) would be extended to June 15, 2020. As promised, Governor Sununu

announced the extension of that order on May 31, 2020, which included new guidelines for

additional businesses that may re-open.25

        78.      On the same day, Governor Sununu issued Emergency Order #49 Pursuant to

Executive Order 2020-04 as extended by Executive Orders 2020-05, 2020-08, and 2020-09.

N.H. Emer. Order No. 49 (May 29, 2020).26 That Order extended Emergency Order #40 and all

of its Exhibits until June 15, 2020. Id.

        79.      Governor Sununu did not expressly suspend any law or rule in any of the above

Emergency Orders.

        80.      On June 4, 2020, Governor Sununu distinguished the “stay at home” restrictions

in Emergency Order #49, indicating he may let those restrictions expire on June 15, 2020, and

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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/2020-09.pdf
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   https://www.wmur.com/article/stay-at-home-order-extended-to-june-15-reopening-guidance-given-for-houses-of-
worship-day-camps/32715508
26
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-49.pdf


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replace them with an “advisory,” and the “state of emergency” declaration, stating “the state of

emergency [declaration] is likely to go on for some time, because there are so many orders . . .

attached to that that provide flexibility needed for the indefinite future.”27

        81.      True to his word, on June 5, 2020, Governor Sununu issued Executive Order

2020-10 (“Fourth Extension of State of Emergency Declared in Executive Order 2020-04”),

which again “renew[ed] the Declaration of a State of Emergency due to Novel Coronavirus

(COVID-19) and extend[ed] the State of Emergency declared in Executive Order 2020-04 for a

period of 21 days,” or until June 26, 2020. N.H. Exec. Order 2020-10 (June 5, 2020).28 That

Order extended “[a]ll provisions of Executive Order 2020-04 as extended by Executive Orders

2020-05, 2020-08, and 2020-09, and all Emergency Orders issued pursuant thereto . . . .” Id. ¶ 1.

        82.      On June 15, 2020, although Governor Sununu allowed Emergency Order #49 to

expire, he issued Emergency Order #52 Pursuant to Executive Order 2020-04 as extended by

Executive Orders 2020-05, 2020-08, 2020-09 and 2020-10. N.H. Emer. Order No. 52 (June 15,

2020).29 That Order loosened some restrictions on businesses but otherwise maintained many

others, including the requirement that employees wear face masks or coverings and various

limits on public gatherings, and it replaced the “stay-at-home” restrictions above with the same

restrictions but “advised” that they be followed, rather than make them mandatory. See id.

        83.      Since then, Governor Sununu has issued four more Executive Orders (2020-14,

2020-15, 2020-16, and 2020-17), which collectively extended the “state of emergency”

declaration until September 18, 2020. See N.H. Exec. Order 2020-14 (June 26, 2020);30 N.H.



27
    https://www.wmur.com/article/part-3-gov-sununu-answers-questions-about-covid-19-response/32772608
28
    https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/2020-10.pdf
29
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/files/inline-documents/emergency-order-52.pdf
30
    https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/2020-14.pdf


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Exec. Order 2020-15 (July 17, 2020);31 N.H. Exec. Order 2020-16 (Aug. 7, 2020);32 N.H. Exec.

Order 2020-17 (Aug. 28, 2020).33

        84.      On July 31, 2020, Governor Sununu issued Emergency Order #61 Pursuant to

Executive Order 2020-04 as extended by Executive Orders, 2020-05, 2020-08, 2020-10, 2020-

14, and 2020-15. N.H. Emer. Order No. 61 (July 31, 2020).34 That Order extended Emergency

Order #52 until September 1, 2020. Id.

        85.      On August 11, 2020, Governor Sununu issued Emergency Order #63 Pursuant to

Executive Orders, 2020-05, 2020-08, 2020-09, 2020-10, 2020-14, 2020-15, and 2020-16. N.H.

Emer. Order No. 63 (Aug. 11, 2020).35 That Order required face coverings for anyone attending

“[s]cheduled gatherings of 100 people or more for social, spiritual, and recreational activities,

including, but not limited to, community, civic, public, private, leisure, faith based, political, or

sporting events; parades, concerts; festivals, conventions; fundraisers; and similar activities,

where individuals are gathered in the same place at the same time.” Id. ¶ 1. This requirement

does not apply to “[s]cheduled gatherings where attendees are seated and separated by at least 6

feet,” state and local governments, and schools. Id. ¶ 2.

        86.      In total, as of the date of this filing, Governor Sununu has issued 68 Emergency

Orders addressing a wide range of topics and areas to combat the Coronavirus.

F.      The Purpose of the Shutdown and the Current State of the Coronavirus in New
        Hampshire




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   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/executive-order-2020-5.pdf
32
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/2020-16.pdf
33
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/2020-17.pdf
34
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/2020-07/emergency-order-61.pdf
35
   https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/emergency-order-63.pdf


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        87.      The purpose and rationale for Governor Sununu’s orders shutting down the New

Hampshire economy were to “slow the spread of COVID-19.”36 Slowing the spread of the

Coronavirus would avoid overwhelming New Hampshire’s healthcare system and allowing

COVID-19-infected Granite Staters to die, untreated and uncared for, at home or in some

hospital hallway. Indeed, a group of New Hampshire academics wrote to Governor Sununu on

March 23, 2020, that “New Hampshire currently has just over 3,000 hospital beds,” and “[b]ased

on our projections and those prepared by Harvard, our hospital system will be overwhelmed

within three weeks.”37 Two New Hampshire mayors publicly demanded Governor Sununu issue

a stay-at-home order because, “the sooner everyone stays home, avoids unnecessary travel and

non-essential activities, the better chance we have to flatten the curve and save lives.”38

        88.      Thus, this strategy’s purpose was not to prevent people from contracting the

Coronavirus. After all, there is no vaccine. Rather, it was to delay their contracting it so New

Hampshire’s healthcare system would not receive a large influx of Coronavirus cases they were

not equipped to address.

        89.      After over a month of applying this strategy, Governor Sununu acknowledged on

April 29, 2020, that it was wildly successful. In a news conference that day, he noted New

Hampshire has “flattened the curve.”39 He cited the number of hospitalizations as “one of the

definitive markers of how close you are to hitting capacity on your health care system,” and then

reported, “[t]oday’s census [of the number of hospitalized Coronavirus patients] is about 100,

and we have a little over 1000 beds of capacity.” He continued: “We have multiple times

available [hospital bed] capacity. You know, we could literally have 10 times – God forbid – 10

36
   https://www.wmur.com/article/live-at-3-sununu-gives-update-on-covid-19/31941704
37
   https://www.concordmonitor.com/Shelter-in-place-33500097
38
   https://manchesterinklink.com/craig-and-donchess-urge-sununu-for-stronger-measures-against-covid-19/
39
   https://www.insidesources.com/opinion-if-weve-flattened-the-curve-why-is-new-hampshire-still-closed/


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times the number of hospitalizations, and we could still very easily be able to handle that

capacity.”

        90.      Governor Sununu was correct. The New Hampshire Department of Health and

Human Services reported a total of 1,019 COVID-19 beds. As of April 30, 2020, there were 112

current hospitalizations. (All statistics were obtained from the New Hampshire Department of

Health and Human Services website40 and the New Hampshire Public Radio website.41 Three of

those hospitalizations were new. At the time, there were also 84 ICU beds for the seriously-ill

Coronavirus patients, and New Hampshire was using fewer than 30.42

        91.      New Hampshire never got close to breaking the curve. Its curve remained flat,

and the goal of the Governor’s initial shutdown orders was successfully achieved. There is no

longer an “emergency” in New Hampshire, or even a threat of one.

        92.      However, “[w]hat were initially billed as temporary measures necessary to

‘flatten the curve’ and protect hospital capacity have become open-ended and ongoing

restrictions aimed at a very different end—stopping the spread of an infectious disease and

preventing new cases from arising.” Cnty. of Butler, Civil Action No. 2:20-cv-677, at *17.

        93.      Indeed, several days beforehand, Governor Sununu issued Executive Order 2020-

08, extending the declaration of a “state of emergency,” as well as all Emergency Orders, another

21 days, from April 24 to May 15. See N.H. Exec. Order 2020-08 (Apr. 24, 2020).43 Further, a

week before that, Governor Sununu issued Emergency Order #32, which canceled the school

year and directed all school districts to continue with remote instruction.



40
   https://www.nh.gov/covid19/news/updates.htm
41
   https://www.nhpr.org/post/explore-data-tracking-covid-19-new-hampshire#stream/0
42
   https://covid19.healthdata.org/united-states-of-america/new-hampshire
43
   https://www.governor.nh.gov/news-media/orders-2020/documents/2020-08.pdf


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        94.      As of May 1, 2020, the number of current hospitalizations dropped from 112 to

103, despite eight new hospitalizations, and the current hospitalization rate had steadily dropped

to 8% (from 10%-11% the week before). Also, at the time, there were just 1,249 current cases of

Coronavirus in New Hampshire (with 980 recovered), and just 81 total deaths. Despite this

downward trend, Governor Sununu issued Executive Order 2020-09 on May 15, 2020, extending

the declaration of a “state of emergency,” as well as all Emergency Orders, another 21 days,

from May 15 to June 5. See N.H. Exec. Order 2020-09 (May 15, 2020).

        95.      As of September 17, 2020, there are just 272 current cases in New Hampshire and

just 7 current hospitalizations. That equates to a 2.57% current hospitalization rate. As of

September 16, there were only 33 new cases, while the seven-day average in new cases is

hovering just above 30 (down from 80-100 four months ago). There have been only five deaths

reported in the last week, while the seven-day average in new deaths is hovering between 1 and

2.

        96.      The City of Keene currently has approximately 1-4 current cases (against a

population of over 23,000),44 and has reported just 39 total cases since this “outbreak” began.45

        97.      New Hampshire’s hospitals are so underwhelmed that they furloughed and laid

off employees. For example, on April 15, 2020, Solution Health, which owns and operates Elliot

Hospital System and Southern New Hampshire Health, furloughed 650 employees and cut the

pay or hours of another 750 employees, affecting nearly 20% of its workforce.46 The company

was losing more than $24 million per month in revenue after canceling elective surgeries and

services to prepare for an anticipated surge in Coronavirus patients that never arrived. Indeed,

44
   https://dashboard.nh.gov/t/DHHS/views/COVID-19LrgMaps/MAPCurrentCasesLrg.pdf
45
   https://www.nh.gov/covid19/dashboard/cumulative-cases.htm
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   https://www.unionleader.com/news/health/coronavirus/elliot-sister-hospitals-announce-furloughs-pay-cuts-for-20-
of-workforce/article_d754b0e9-4581-5037-856a-a8ad86b51907.html


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just two weeks ago, Elliot Hospital in Manchester reported it had zero COVID cases.47 On April

3, 2020, the ownership group that owns Lakes Region General Hospital and Franklin Regional

Hospital announced it was furloughing more than 600 employees, also in part due to the

cancellation of elective and non-urgent surgeries, procedures, and outpatient visits, which

resulted in more than a 50% loss of revenue.48

        98.      Apart from the fact New Hampshire’s healthcare system is not even close to

capacity, the mortality rate for Coronavirus is far lower than initially projected. The mortality

rate (number of total deaths divided by the total population) in New Hampshire is 0.032% and

approximately 0.06% in the United States, far below the 0.1% mortality rate for the seasonal flu.

        99.      The number of deaths attributed to COVID-19 across the country, however,

appear to have been grossly exaggerated. On August 26, 2020, the Centers for Disease Control

and Prevention (“CDC”) reported that only 6% of Coronavirus-related deaths in the United

States have COVID-19 listed as the only cause of death.49 The other 94% of Coronavirus-related

deaths had other underlying medical conditions (called “comorbidities”) listed, such as influenza,

hypertensive disease, diabetes, and cardiac arrest.

        100.     COVID-19 appears to be highly selective in those among the population to whom

it poses the most risk: as of September 14, 2020, 95.8% (or 418) of 436 Coronavirus-related

deaths in New Hampshire occurred in individuals above the age of 60, and 63.5% (or 277) of

those deaths occurred in individuals above the age of 80. There are 18 deaths under the age of

60. Indeed, approximately 80% of deaths attributed to COVID-19 in New Hampshire have been


47
   https://www.wmur.com/article/elliot-hospital-down-to-zero-covid-19-patients/33609843
48
   https://www.unionleader.com/news/health/coronavirus/lakes-region-hospitals-to-furlough-more-than-600-
employees/article_d9d43187-b2c0-5250-b056-25e9f1474d03.html
49
   https://www.ajc.com/news/nation-world/cdc-94-of-coronavirus-related-deaths-have-underlying-medical-
conditions/62BMRRSGJVGIPATNMOXFIL3G6E/


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in nursing homes or long-term care facilities.50 These statistics are buttressed by data from the

CDC: “as of May 13, those older than 85 are 314 times more likely to die of COVID-19 than

those aged 25–34; those under 15, by contrast, are 43 times less likely to die of the disease than

those aged 25–34.”51 In contrast, the flu is 17 times more deadly than COVID-19 for people

under the age of 25 (even with pre-existing conditions).52

        101.     Regarding children, as of September 14, there were only 689 total known cases of

the Coronavirus in persons under 20 years old and zero deaths. (The number of cases per 10-

year age bracket above age 20 often totals double that amount, usually north of 1,000 total

cases.) As early as April 29, 2020, the UK Daily Mail reported that experts could not find a

single child under the age of 10 who had transmitted the Coronavirus to an adult.53

        102.     In late July, the Texas Department of Health released data showing COVID-19 is

less lethal, regardless of age, than the flu just two seasons ago.54

        103.     In May 2020, a letter signed by hundreds of doctors was sent to President Trump

warning of adverse health consequences stemming from Coronavirus-related shutdowns.55

        104.     Less restrictive measures have always been available to address the risk the

Coronavirus poses to the elderly. NH DHHS has always had the authority (without the need for

executive action from the Governor, let alone shutting down schools or the entire New

Hampshire economy) to address that segment of the population through its own procedures for

combating communicable diseases. Section (r) of He-P 301.05 (titled “Restriction and Control


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   https://www.nhpr.org/post/coronavirus-update-state-reports-37-new-cases-new-testing-site-manchester#stream/0
51
   https://freopp.org/estimating-the-risk-of-death-from-covid-19-vs-influenza-or-pneumonia-by-age-630aea3ae5a9
52
   See id.
53
   https://www.dailymail.co.uk/news/article-8271703/Experts-single-child-10-passed-coronavirus-adult.html
54
   https://www.thegatewaypundit.com/2020/07/stunning-texas-coronavirus-numbers-show-covid-19-less-lethal-last-
two-flu-
seasons/?utm_source=Twitter&utm_medium=PostTopSharingButtons&utm_campaign=websitesharingbuttons
55
   https://www.scribd.com/document/462319362/A-Doctor-a-Day-Letter-Signed


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Measures for Isolation and Quarantine for Specific Diseases”) states, “For any communicable

disease that poses a threat to the public’s health and not already described in He-P 301.05 [list

of known communicable diseases], all cases, suspect cases, and close contacts of cases or

suspect cases of a communicable disease who work in sensitive occupations, such as healthcare,

food service, and child care, or who are otherwise located in a congregate setting, shall be

excluded or restricted from certain activities until they are no longer infectious in accordance

with RSA 141-C:4 if necessary to protect the health and safety of the public from a

communicable disease, and based on the best available guidance and recommendations from the

Centers for Disease Control and Prevention or other established sources.” (Emphasis added.)

Given these measures that NH DHHS has had at its disposal for a long time, the Governor’s

orders above and the Department’s actions were never necessary.

        105.    Children and healthy adults under 60 are not at risk with this virus. COVID-19

presents a statistically insignificant threat to the health of children, young adults, and healthy

adults of middle and even slightly advanced age.

        106.    There is also growing evidence that shutting down society is increasing

transmission of the Coronavirus. For example, in early June 2020, the World Health

Organization stated the asymptomatic spread of the Coronavirus was “very rare,” which

contradicts the preliminary evidence obtained from the earliest outbreaks indicating the virus

could spread from person-to-person contact, even if a carrier was asymptomatic.56 Then, during

the summer in New York – the worst epicenter for the Coronavirus in the United States – 66% of

new Coronavirus hospitalizations consist of people who stayed home: they are either retired or



56
  https://www.cnbc.com/2020/06/08/asymptomatic-coronavirus-patients-arent-spreading-new-infections-who-
says.html


                                                    33
          Case 1:20-cv-00963-LM Document 1 Filed 09/18/20 Page 34 of 57




unemployed and not commuting to work on a regular basis.57 Meanwhile, the neighboring

countries of Sweden and Denmark (which have similar social structures, demographics, and

health care systems) took wildly different approaches to combatting the spread of the

Coronavirus: Denmark locked down its schools, borders, restaurants, cafes, and shops, while

Sweden merely encouraged citizens to use common sense, work from home if possible, and not

gather in crowds over 50, but kept schools, bars, gyms, and restaurants open.5859 The resulting

infection rate between the two countries was approximately the same; Sweden’s infection rate

had stabilized; and Sweden’s mortality rate was lower than most major European countries

(which shut down their economies).60

        107.     There is no “state of emergency” in New Hampshire, nor is there any threat to our

state’s health care system, let alone to children or healthy adults. The original need for shutting

down the New Hampshire economy and undertaking such strict protective measures no longer

exists, and there exists no basis for Governor Sununu’s recent orders extending that “state of

emergency” and the extension of numerous restrictions on New Hampshire society. The virus is

also nowhere near as deadly as initially projected. The continuing shutdown is preventing the

New Hampshire population from achieving “herd immunity,” which would ultimately eradicate

the virus much more quickly than “slowing the spread” by forcing the shutdown of businesses,

closure of schools, and ordering people to stay home. It is also destroying the state’s economy.




57
   https://www.nydailynews.com/coronavirus/ny-coronavirus-cuomo-coronavirus-stats-20200506-
eyqui4b5lfdn7g6cqswkf6otly-story.html
58
   https://www.telegraph.co.uk/news/2020/05/05/sweden-suppressed-infection-rates-without-lockdown/
59
   https://www.webmd.com/lung/news/20200501/sweden-sticks-with-controversial-covid19-approach
60
   https://www.telegraph.co.uk/news/2020/05/05/sweden-suppressed-infection-rates-without-lockdown/


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G.     Keene’s Enactment of an Ordinance Requiring Face Masks or Coverings

       108.    Despite this wealth of information demonstrating there is no emergency or

epidemic in New Hampshire, on August 6, 2020, the City of Keene passed an ordinance

requiring individuals who enter any business, who are present in any outdoor area serviced by a

business, or who enter or are present in the common areas of any commercial or any residential

building with three or more units to wear face masks or coverings.

       109.    In late May 2020, Keene City Councilor Randy Filiault initially proposed a mask

ordinance. He withdrew the proposal a few days later after learning a similar ordinance in

Nashua was being challenged in court.

       110.    On July 29, 2020, the Keene City Council’s Planning, Licenses, and Development

Committee met and voted unanimously to recommend a revised mask ordinance to the full City

Council.

       111.    On August 6, 2020, the City Council voted 12-2 to formally adopt the ordinance.

       112.    This ordinance obviously requires the individual Plaintiffs (Mr. Freeman, Ms.

Lindenfeld, and Ms. DiMezzo) to wear face masks or coverings in various situations and

circumstances covered by it. It also requires them, in operating their business interests, to wear

masks and require their own employees and patrons to wear masks. The businesses and

organization they operate are covered under the ordinance and must abide by it.

       113.    A business that violates the ordinance shall be given a verbal warning for a first

offense, a written warning for a second offense, a fine of $100 for a third offence and a five of

$250 for any fourth or subsequent offense.

       114.    An ordinance requiring face masks in wide community settings, however, is not

effective in preventing the spread of the Coronavirus. As early as April 6, 2020, the World

Health Organization (“WHO”) published a report titled “Advice on the use of masks in the
                                                35
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context of COVID-19,” which concluded “[t]here is limited evidence that wearing a medical

mask by healthy individuals in the households or among contacts of a sick patient, or among

attendees of mass gatherings may be beneficial as a preventive measure.61 It then concluded

further that “there is currently no evidence that wearing a mask (whether medical or other

types) by healthy persons in the wider community setting, including universal community

masking, can prevent them from infection with respiratory viruses, including COVID-19.”62

Rather, the use of masks in a wide community setting poses significant risks: “The use of

medical masks in the community may create a false sense of security, with neglect of other

essential measures, such as hand hygiene practices and physical distancing, and may lead to

touching the face under the masks and under the eyes, result in unnecessary costs, and take

masks away from those in health care who need them most, especially when masks are in short

supply.”63 The article concluded with this advice to “decision makers on the use of masks for

healthy people in community settings”: “the wide use of masks by healthy people in the

community setting is not supported by current evidence and carries uncertainties and critical

risks.”64

        115.     Indeed, despite the City of Nashua’s enactment of a more restrictive ordinance

requiring face masks or coverings in similar community settings, Nashua Mayor James Donchess

and two other City employees recently tested positive for COVID-19.65 Mayor Donchess

explained “an employee he had recently met with had a family member who tested positive.”66


61
   https://www.who.int/publications-detail/advice-on-the-use-of-masks-in-the-community-during-home-care-and-in-
healthcare-settings-in-the-context-of-the-novel-coronavirus-(2019-ncov)-outbreak
62
   Id.
63
   Id.
64
   Id.
65
   https://www.unionleader.com/news/health/coronavirus/nashuas-mayor-among-city-hall-employees-testing-
positive-for-covid-19/article_aac4dbeb-cdb6-5f3a-8af1-26daa10dc331.html
66
   Id.


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Assuming Mayor Donchess was abiding by the City’s ordinance, he would have been wearing a

face mask or covering during that interaction, and – according to the City’s cited basis for the

ordinance – that mask or covering would have prevented him from contracting the virus. Sadly,

his use of a mask or covering (assuming he wore one, because government officials should also

follow the law) did not prevent him from contracting it. Rather, Mayor Donchess opined that

“somehow this virus slipped through at City Hall.”67 If face masks or coverings were actually

effective, however, it should not have “slipped” through anything, let alone the very government

officials who pushed the City’s ordinance onto its citizens.

           116.     The WHO’s recommendation above was buttressed by studies and opinions that

demonstrate face masks or coverings are not helpful in community settings. For example, Dr.

Russell Blaylock, a retired neurosurgeon and author, explained, “As for the scientific support for

the use of face mask, a recent careful examination of the literature, in which 17 of the best

studies were analyzed, concluded that, ‘None of the studies established a conclusive relationship

between mask/respirator use and protection against influenza infection.’” Russell Blaylock,

M.D., “Blaylock: Face Masks Pose Serious Risks to the Healthy,” Technocracy News & Trends,

May 21, 2020.68 Dr. Blaylock explained further: “[N]o studies have been done to demonstrate

that either a cloth mask or the N95 mask has any effect on transmission of the COVID-19 virus.

Any recommendations, therefore, have to be based on studies of influenza virus transmission.

And . . . there is no conclusive evidence of their efficiency in controlling flu virus transmission.”

Id. Rather, wearing a mask poses risks: “Several studies have indeed found significant problems

with wearing such a mask. This can vary from headaches, to increased airway resistance, carbon

dioxide accumulation, to hypoxia, all the way to serious life-threatening complications.” Id.

67
     Id.
68
     https://www.technocracy.news/blaylock-face-masks-pose-serious-risks-to-the-healthy/


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“[A]nother study of surgical masks found significant reductions in blood oxygen as well. . . .

The longer the duration of wearing the mask, the greater the fall in blood oxygen levels.” Id.

Dr. Blaylock explained the importance of a drop in oxygen levels: “[A] drop in oxygen levels

(hypoxia) is associated with an impairment in immunity. This sets the stage for contracting any

infection, including COVID-19 and making the consequences of that infection much graver. In

essence, your mask may very well put you at an increased risk of infections and if so, having a

much worse outcome.” Id. If that wasn’t bad enough: “There is another danger to wearing these

masks on a daily basis, especially if worn for several hours. When a person is infected with a

respiratory virus, they will expel some of the virus with each breath. If they are wearing a mask,

especially an N95 mask or other tightly fitting mask, they will be constantly rebreathing the

viruses, raising the concentration of the virus in the lungs and the nasal passages. We know that

people who have the worst reactions to the coronavirus have the highest concentrations of the

virus early on. And this leads to the deadly cytokine storm in a selected number.” Id.

           117.    Indeed, on July 31, 2020, the CDC released guidelines to state health departments

about patients infected with the Coronavirus.69 In a footnote, the CDC acknowledged that,

although masks (when work properly) “may help those who are infected from spreading the

infection,” “there is less information regarding whether masks offer any protection for a contact

exposed to a symptomatic or asymptomatic patient.”70

           118.    In addition, in a study conducted by the National Taiwan University Hospital, it

was found that the use of N-95 masks in healthcare workers caused them to experience

hypoxemia, the low level of oxygen in the blood, and hypercapnia, an elevation in the blood's



69
     https://www.cdc.gov/coronavirus/2019-ncov/php/public-health-recommendations.html
70
     Id.


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carbon dioxide levels.71 Another study reported findings of headaches in health professionals

using the same protective face mask and breathing difficulties in pregnant women wearing N-95

masks.72

       119.    Indeed, “ventilation, cardiopulmonary exercise capacity and comfort are reduced

by surgical masks and highly impaired.”73

       120.    Another recent study by a group of researchers from Duke University concluded

that face coverings made of synthetic fabric (such as popular “neck gaiters”) do not restrict air

and, thus, provide no protection against transmitting or contracting virus particles.74

       121.    Finally, just last week, in response to the wildfires in California, the CDC posted

an announcement on its Facebook page concerning the use of cloth face masks in areas most

affected by smoke:

                                       [image on next page]




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   https://clinicaltrials.gov/ct2/show/NCT00173017
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   https://europepmc.org/article/med/16441251
73
   https://link.springer.com/epdf/10.1007/s00392-020-01704-
y?sharing_token=4AfWegbHOxk00hiHYtrplPe4RwlQNchNByi7wbcMAY4ZfoGR_ibmFHApWSw2JRb7yoFxeXb
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   https://advances.sciencemag.org/content/early/2020/08/07/sciadv.abd3083


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       122.    The Plaintiffs above participated in the organization of a rally scheduled for

August 15, 2020, in Keene, NH, protesting the use of face masks or coverings. That rally drew

more than 100 people, and most individuals there (including the Plaintiffs) did not wear face

masks or coverings.

                                            CLAIMS

                                             COUNT I
                                     (Declaratory Judgment)
                                   (Plaintiffs v. All Defendants)

       123.    Plaintiffs repeat and incorporates by reference the allegations of the paragraphs

above as if fully stated herein.

       124.    There is a genuine and bona fide dispute and an actual controversy and

disagreement between Plaintiffs and the City of Keene regarding whether O-2020-09-A was




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properly enacted, whether it is preempted by the Governor’s various Emergency Orders, and

whether it violates Plaintiffs’ Constitutional rights.

       125.    First, the City lacked the authority to enact O-2020-09-A because the state

legislature did not expressly grant it any authority to enact an ordinance requiring citizens to

wear face masks or coverings. Girard v. Town of Allenstown, 121 N.H. 268, 270-71 (1981).

       126.    Second, even if the City had the authority to enact O-2020-09-A, Governor

Sununu’s numerous Emergency Orders addressing the Coronavirus preempt it. A city “cannot

regulate a field that has been preempted by the State.” Town of Rye Bd. Of Selectmen v. Town of

Rye Zoning Bd. of Adjustment, 155 N.H. 622, 624 (2007); Casico v. City of Manchester, 142

N.H. 312, 315 (1997). “The preemption doctrine flows from the principle that municipal

legislation is invalid if it is repugnant to, or inconsistent with, State law. One way in which

municipal legislation will be preempted is if it expressly contradicts State law. State law

expressly preempts local law when there is an actual conflict between State and local regulation.

An actual conflict exists when a municipal ordinance or regulation permits that which a State

statute prohibits, or vice versa.” Town of Rye, 155 N.H. at 624. “The enactment of a detailed

and comprehensive State regulatory scheme governing a particular field often demonstrates the

State’s intent to preempt that field by placing exclusive control in the State's hands.” Casico,

142 N.H. at 315. “In such circumstances, municipal legislation dealing with that field ‘runs

counter’ to the State statutory scheme.” Id.

       127.    After declaring a “state of emergency” (and renewing that declaration three

times), Governor Sununu has issued, to date, 68 Emergency Orders addressing nearly every

industry and facet of the state of New Hampshire, including, but not limited to, schools, the food

services industry, businesses, public gatherings, recreational activities, the medical field, and



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individuals’ day-to-day behavior. These Orders comprise a comprehensive regulatory scheme

governing the state’s response to the Coronavirus, and it demonstrates the state’s intent to

preempt this field by placing exclusive control in the state’s hands.

       128.    O-2020-09-A conflicts with the scheme established by the Governor’s Emergency

Orders in several respects:

               a.      Emergency Order #61, which extended Emergency Order #52 (and its
                       prior iteration in Emergency Orders #40 and #49), permits individuals to
                       go to grocery stores, pharmacies, laundromats, gas stations, medical and
                       dental service providers, and all other businesses to patronize them. It
                       requires certain businesses and attractions that are permitted to re-open,
                       such as campgrounds, parks, restaurants, retail stores, hospitals, and
                       dentists, merely to ask customers to wear face masks or coverings when
                       entering those establishments, but it does not require them to do so.
                       Emergency Order #10 directed grocery stores to transition to “single use
                       plastic or paper bags” but not to require customers to wear face masks or
                       coverings. In contrast, section b of O-2020-09-A states “[m]embers of the
                       public entering any business for any purpose, including any outdoor
                       area where business of any sort is conducted, are required to wear a face
                       covering completely covering their nose and mouth.” (Emphasis added.).
                       Similarly, section c of O-2020-09-A states, “[r]esidents, visitors, and
                       members of the public entering or present within a residential apartment
                       complex containing three or more residential units are required to wear
                       a face covering over their nose and mouth while in the interior common
                       areas, including but not limited to foyers, stairwells and elevators
                       (“Common Areas”) unless social distancing of six (6) feet can be
                       maintained. This requirement shall also apply to any business having
                       such Common Areas, notwithstanding the number of business units
                       within the business complex.” (Emphasis added.)

               b.      Emergency Order #61 advises that individuals stay home but did not
                       require them to wear a mask or face covering while anywhere within their
                       place of residence, whether their own private residence or a common area.
                       (Neither did Emergency Orders #40 or #49.) Emergency Order #61 also
                       permits individuals to leave their home in certain instances, including for
                       “essential errands,” “to visit close relatives,” or “to provide care for
                       another person.” N.H. Emer. Order No. 52, ¶ 3 (June 15, 2020). In
                       contrast, section c of O-2020-09-A, as noted above, states, “[r]esidents,
                       visitors, and members of the public entering or present within a
                       residential apartment complex containing three or more residential units
                       are required to wear a face covering over their nose and mouth while in
                       the . . . Common Areas.” (Emphasis added.).

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       129.    Third, O-2020-09-A violates violates Plaintiffs’ Constitutional rights, as described

in further detail below.

       130.    There is also a genuine and bona Governor Sununu regarding whether Emergency

Order #63 violates Plaintiffs’ Constitutional rights, as described in further detail below..

       131.    Plaintiffs request, in good faith, that this Court declare the following:

               a.      O-2020-09-A is null and void because the City lacked the authority to

                       enact O-2020-09-A because the state legislature did not expressly grant it

                       any authority to enact an ordinance requiring citizens to wear face masks

                       or coverings; Governor Sununu’s numerous Emergency Orders addressing

                       the Coronavirus preempt it; and it violates Plaintiffs’ Constitutional rights.

               b.      Emergency Order #63 is null and void because it violates Plaintiffs’

                       Constitutional rights.

               c.      Any further ordinances enacted or Emergency Orders issued in response to

                       the Coronavirus enacted/issued after the date of any order in this

                       proceeding are void ab initio because the City lacks the authority to enact

                       such ordinances because the state legislature did not expressly grant it any

                       authority to do so, Governor Sununu’s numerous Emergency Orders

                       addressing the Coronavirus would preempt any such ordinances, and such

                       measures violate Plaintiffs’ Constitutional rights.




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                                             COUNT II
                              (Violation of Free Exercise of Religion)
                                          (42 USC § 1983)
                                       (U.S. Const. amend. I)
                                    (Part 1, Art. 5, N.H. Const.)
                                   (Plaintiffs v. All Defendants)

       132.    Plaintiffs repeat and incorporate by reference the allegations of the paragraphs

above as if fully stated herein.

       133.    The First Amendment to the United States Constitution states, “Congress shall

make no law . . . prohibiting the free exercise [of religion].” U.S. Const. amend. I. The

Fourteenth Amendment to the U.S. Constitution imposes this prohibition on every state and local

government. U.S. Const. amend. XIV.

       134.    Part 1, Article 5 of the New Hampshire Constitution states, “Every individual has

a natural and unalienable right to worship God according to the dictates of his own conscience,

and reason; and no subject shall be hurt, molested, or restrained, in his person, liberty, or estate,

for worshipping God in the manner and season most agreeable to the dictates of his own

conscience; or for his religious profession, sentiments, or persuasion; provided he doth not

disturb the public peace or disturb others in their religious worship.”

       135.    O-2020-09-A and Emergency Order #63 violate Plaintiffs’ right to freely exercise

their religious beliefs because it restricts them from engaging in church services, including those

involving gatherings of more than 100 people, without wearing face masks or coverings, where

such stringent restrictions do not exist on other secular businesses, such as airports, buses, trains,

medical facilities, libraries, shopping malls, office environments, restaurants, factories, grocery

stores, pharmacies, etc.

       136.    In Berean Baptist Church v. Governor Roy A. Cooper, III, No. 4:20-CV-81-D

(E.D.N.C. May 16, 2020), a federal district court in North Carolina enjoined Governor Roy A.

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Cooper, III’s Executive Order 138, which imposed a limit on gatherings of 10 people on church

services unless it was “impossible” to hold such service outdoors or through other

accommodations, violated the Free Exercise Clause of the First Amendment. Id. at *1-*2. The

district court granted the plaintiffs’ emergency motion for a temporary restraining order, finding

they met all four elements for such relief, and enjoined the Governor’s enforcement of Executive

Order 138. Id. at *21-*22. The court held Executive Order 138, on its face and even despite its

“unless impossible” exception, restricted churches from holding gatherings of more than 10

people while permitting other secular businesses and establishments from holding larger

gatherings. Id. at *12-*15. “A law is not neutral and generally applicable unless there is

neutrality between religion and non-religion.” Id. at *16 (quoting Roberts v. Neace, No. 20-

5465, 2020 WL 2316679, at *7 (6th Cir. May 9, 2020)). “And a law can reveal a lack of

neutrality by protecting secular activities more than comparable religious ones.” Id.

       137.    Accordingly, the court applied strict scrutiny in evaluating whether Executive

Order 138 violated the Free Exercise Clause. Id. at *15-*17. The court acknowledged “the

Governor’s compelling interest in seeking to prevent the spread of COVID-19” but then address

“the question . . . whether the assembly for religious worship provisions in EO 138 amount to the

‘least restrictive means’ of serving that compelling interest.” Id. at *17. The court concluded,

however, that Executive Order 138 did not “afford [the plaintiffs] the same treatment as they and

their fellow non-religious citizens receive when they work at a plant, clean an office, ride a bus,

shop at a store, or mourn someone they love at a funeral.” Id. The court noted further: “the

Governor appears to trust citizens to perform non-religious activities indoors (such as shopping

or working or selling merchandise) but does not trust them to do the same when they worship

indoors together,” and “[t]he Governor has failed to cite any peer-reviewed study showing that



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religious interactions in those 15 states have accelerated the spread of COVID-19 in any manner

distinguishable from non-religious interactions.” Id. The court acknowledged that “an

acknowledged power of a local community to protect itself against an epidemic threatening the

safety of all” “is not absolute” and “might be exercised . . . in such an arbitrary, unreasonable

manner, or might go so far beyond what was reasonably required for the safety of the public, as

to authorize or compel the courts to interfere for the protection of such persons.” Id. at *18

(quoting Jacobson v. Massachusetts, 197 U.S. 11, 28 (1905)). The district court held “[t]he

assembly for religious worship provisions in EO 138 are not narrowly tailored to accomplish the

compelling interest in protecting public health” and ultimately held the order violates the Free

Exercise Clause of the First Amendment. Id.

       138.    Similarly, in mid-April, the United States District Court for the Eastern District of

Kansas granted a motion for a temporary restraining order (“TRO”) enjoining Kansas Governor

Laura Kelly’s executive order (EO 20-18), which, unlike previous orders, specifically addressed

“churches or other religious facilities” for the first time and imposed on them a prohibition on

“mass gatherings” of more than 10 people. First Baptist Church v. Kelly, No. 20-1102-JWB, at

*2-*3 (D. Kan. Apr. 18, 2020). EO 20-18 exempted many activities and facilities from that

prohibition, like “governmental operations . . . airports; childcare locations; hotels; food pantries

and shelters; detoxification centers; shopping malls ‘and other retails establishments where large

numbers of people are present but are generally not within arm's length of one another for more

than 10 minutes’; libraries; restaurants, bars, and retail food establishments (including grocery

stores), provided social distancing of 6 feet was maintained; office spaces; ‘manufacturing,

processing, distribution, and production facilities’; public transportation; and job centers.” Id. at

*3-*4. The Governor later issued another executive order (EO 20-25), which did not alter the



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restrictions on churches but placed additional restrictions on three of the aforementioned

businesses: retail establishments needed to be limited to employees and customers “performing

essential activities or essential functions”; restaurants and bars were limited to no more than ten

customers; and office spaces were limited to those ‘performing essential activities or functions.”

Id. at *4.

         139.     The district court in First Baptist held the plaintiffs met all the elements for a

TRO, including likelihood of success on the merits. Id. at *7-*9. As in Berean Baptist Church,

the district court in First Baptist applied strict scrutiny because Governor Kelly’s executive

orders “expressly restrict religious activity” and “were specifically targeted for more onerous

restrictions than comparable secular activities” because ““due to the nature of the activity

involved, rather than because such gatherings pose unique health risks that mass gatherings at

commercial and other facilities do not, or because the risks at religious gatherings uniquely

cannot be adequately mitigated with safety protocols.” Id. at *8-*15. Thus, the district court

held the restrictions in the Governor’s orders could “be sustained only if it is narrowly tailored to

further the compelling state interest in slowing or halting the spread of COVID-19.” Id. at *15.

         140.     Under this standard, the district court held “Plaintiffs are likely to prevail on their

assertion that the restriction on religious mass gatherings is not narrowly tailored” because

“Plaintiffs can likely show that the broad prohibition against in-person religious services of more

than ten congregants is not narrowly tailored to achieve the stated public health goals where the

comparable secular gatherings are subjected to much less restrictive conditions.” Id. at *15-

*16.75



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  The district court issued the TRO but under certain parameters suggested by the Plaintiffs that incorporated
various social distancing measures and declined to issue an order allowing Plaintiffs to conduct their religious


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         141.     Then, the United States District Court for the Western District of Kentucky issued

a TRO enjoining a prohibition on drive-in church services. On Fire Christian Ctr. v Fischer, No.

3:20-CV-264-JRW, at *1-*2 (W.D. Ky. Apr. 11, 2020). The Mayor of Louisville, Kentucky,

banned religious services, including drive-up services, in light of the “public health emergency

caused by the exponential spread of COVID-19,” but allowed drive-through restaurants and

liquor stores to remain open. Id. at *7. The district court held the Mayor’s ban failed strict

scrutiny because it was not narrowly tailored to advance his interest to contain the COVID-19

pandemic. Id. at *12. Indeed, the ban was “underinclusive” and “overboard”: “underinclusive

because [it doesn’t] prohibit a host of equally dangerous (or equally harmless) activities that

Louisville has permitted on the basis that they are ‘essential.’ Those ‘essential’ activities include

driving through a liquor store'’ pick-up window, parking in a liquor store’s parking lot, or

walking into a liquor store where other customers are shopping.” Id. at *12-*13. It was

“overbroad because, at least in this early stage of the litigation, it appears likely that Louisville’s

interest in preventing churchgoers from spreading COVID-19 would be achieved by allowing

churchgoers to congregate in their cars as On Fire proposes.” Id. at *13.

         142.     Like the executive orders above in, O-2020-09-A and Emergency Order #63

directly target churches and places of worship because they require the use of face masks or

coverings in places of worship. Accordingly, this Court would be required to apply strict

scrutiny to these measures and determine whether they further a “compelling government

interest” and are narrowly tailored to achieve that interest. These measures satisfy neither

element.



activities using the same measures specified in executive orders for similar exempt activities without further
evidence. Id. at *17.


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       143.    First, as described above, assuming the City and the Governor’s compelling

government interests are the protection of the public health from COVID-19, there is no such

emergency or danger to the public health in New Hampshire at this time.

       144.    Second, even if that interest in protecting the public health was compelling, O-

2020-09-A and Emergency Order #63 are not narrowly tailored to achieve that interest.

       145.    These measures require individuals to wear face masks or coverings when

engaging these spiritual services. As in Berean, they do not afford Plaintiffs the same treatment

they and their fellow non-religious citizens receive when they work at or patronize a business,

ride a bus, or shop at a store. They do not place similar restrictions on these businesses,

establishments, or services. Although they require individuals adhere to social distancing

guidelines when visiting or patronizing these other establishments, they trust people to engage in

these activities and adhere to these guidelines without such restrictions but do not trust them to

do the same when engaging in church services. Also, as in Berean, the Defendants have failed to

cite any peer-reviewed study in either of these measures – indeed there is no such information

anywhere – showing that religious interactions in the many states where there are no such face

mask or covering requirements on church services have accelerated the spread of COVID-19 in

any manner distinguishable from non-religious interactions. Thus, O-2020-09-A and Emergency

Order #63 are not narrowly tailored to accomplish the compelling interest in protecting public

health and violate Plaintiffs’ right of free exercise of their religious beliefs under the U.S. and

New Hampshire Constitutions.




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                                              COUNT III
                                   (Violation of Freedom of Speech)
                                            (42 USC § 1983)
                                        (U.S. Const. amend. I)
                                     (Part 1, Art. 22, N.H. Const.)
                                     (Plaintiffs v. All Defendants)

       146.    Plaintiffs repeat and incorporate by reference the allegations of the paragraphs

above as if fully stated herein.

       147.    The First Amendment of the United States Constitution states, “Congress shall

make no law . . . abridging the freedom of speech.” The Fourteenth Amendment applied this

restriction to state governments: “No state shall make or enforce any law which shall abridge the

privileges or immunities of citizens of the United States.”

       148.    Part 1, Article 22 of the New Hampshire Constitution states, “Free speech and

Liberty of the press are essential to the security of Freedom in a State: They ought, therefore, to

be inviolably preserved.”

       149.    O-2020-09-A and Emergency Order #63 are unconstitutional abridgements of

Plaintiffs’ right to freedom of speech under First and Fourteenth Amendments of the United

States Constitution and the New Hampshire Constitution.

       150.    They are overbroad because they attempt to control conduct by means that invade

Plaintiffs’ area of protected freedom.

       151.    By requiring Plaintiffs cover their mouths in public or in certain gatherings, they

forbid them and other citizens from expressing themselves in a clear way, or from using facial

expressions and other facial mannerisms to express themselves. Further, they prevent Plaintiffs

and other citizens from expressing their disagreement with the measures themselves because they

expressly prevent them from one type of expression that communicates that disagreement: not

wearing a face mask or covering.

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       152.      O-2020-09-A and Emergency Order #63 do not serve a significant government

objective: although their stated purposes are to minimize the threat to public health, New

Hampshire’s own COVID-19 date unequivocally demonstrates there is no such threat to the

public health.

       153.      Even if there is such an objective, these measures are neither narrowly tailored

nor the least restrictive means available to achieve it: both measures require everyone (regardless

whether one is infected or not, or whether one has contracted the virus and recovered) to wear a

face mask or covering; O-2020-09-A requires wearing a face mask or covering even where social

distancing can be achieved; and O-2020-09-A requires wearing a face mask or covering within

the common areas of residential buildings even when in contact with family members or

members of one’s own household.

       154.      Accordingly, O-2020-09-A and Emergency Order #63 violate Plaintiffs’ right to

free speech under the First and Fourteenth Amendments of the United States Constitution and the

New Hampshire Constitution.

       155.      As a result of Defendants’ actions, Plaintiffs have suffered damages.

                                             COUNT IV
                               (Violation of Procedural Due Process)
                                          (42 USC § 1983)
                                    (Plaintiffs v. All Defendants)

       156.      Plaintiffs repeat and incorporate by reference the allegations of the paragraphs

above as if fully stated herein.

       157.      The Fourteenth Amendment to the United States Constitution states, “No state . . .

shall . . . deprive any person of life, liberty, or property, without due process of law.” This

Amendment protects Plaintiffs and other citizens from the arbitrary and unreasonable exercise of

governmental power.

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       158.    O-2020-09-A and Emergency Order #63 deprive Plaintiffs and other citizens of

their privileges and liberty because they prevent them from choosing whether or not to wear a

face mask or covering.

       159.    Accordingly, they violate their right to procedural due process under the

Fourteenth Amendment to the United States Constitution.

       160.    As a result of Defendants’ actions, Plaintiffs have suffered damages.

                                               COUNT V
                                   (Violation of Right of Assembly)
                                           (42 USC § 1983)
                                        (U.S. Const. amend. I)
                                     (Part 1, Art. 32, N.H. Const.)
                                     (Plaintiffs v. All Defendants)

       161.    Plaintiffs repeat and incorporate by reference the allegations of the paragraphs

above as if fully stated herein.

       162.    The First Amendment of the United States Constitution states, “Congress shall

make no law . . . abridging . . . the right of the people peaceably to assembly.” The Fourteenth

Amendment applied this restriction to state governments: “No state shall make or enforce any

law which shall abridge the privileges or immunities of citizens of the United States.”

       163.    Part 1, Article 32 of the New Hampshire Constitution states, “The People have a

right, in an orderly and peaceable manner, to assemble and consult upon the common good.”

       164.    O-2020-09-A and Emergency Order #63 are overbroad because they restrict

Plaintiffs from exercising their right of assembly. By requiring them and other citizens to cover

their mouths in public or in certain gatherings, they forbid them and other citizens from

assembling and expressing their grievances in a clear way, or from using facial expressions and

other facial mannerisms to do so. Further, they prevent them and other citizens from assembling

to express their disagreement with the measures themselves because they expressly prevent them

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from one type of expression that communicates that disagreement: not wearing a face mask or

covering.

        165.    Accordingly, O-2020-09-A and Emergency Order #63 violate Plaintiffs’ right of

assembly under the First and Fourteenth Amendments of the United States Constitution and the

New Hampshire Constitution.

        166.    As a result of Defendants’ actions, Plaintiffs have suffered damages.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that the Court:

        A.      Declare O-2020-09-A null and void because the City lacked the authority to enact

O-2020-09-A because the state legislature did not expressly grant it any authority to enact an

ordinance requiring citizens to wear face masks or coverings; and Governor Sununu’s numerous

Emergency Orders addressing the Coronavirus preempt it;

        B.      Declare O-2020-09-A and Emergency Order #63 null and void because they

violate Plaintiffs’ constitutional rights;

        C.      Preliminarily and permanently enjoin the enforcement of O-2020-09-A and

Emergency Order #63;

        D.      Preliminarily and permanently enjoin any further similar ordinances enacted by

the City of Keene or similar emergency orders issued by the Governor in response to the

Coronavirus issued after the date of any order issued in this proceeding;

        E.      Enter judgment in favor of Plaintiffs on all counts;

        F.      Award Plaintiffs their damages;

        G.      Award Plaintiffs their attorney’s fees and costs; and

        H.      Award such other relief as is just and equitable.



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                                REQUEST FOR JURY TRIAL

      Plaintiffs request a trial by jury on all claims so triable.

                                                      Respectfully submitted,

                                                      IAN B. FREEMAN, SHIRE FREE
                                                      CHURCH MONADNOCK, MALAISE
                                                      LINDENFELD, PHO KEENE GREAT
                                                      LLC, ARIA DIMEZZO, ARIA DIMEZZO
                                                      (d/b/a REFORMED SATANIC CHURCH),

                                                      By Their Attorneys,

                                                      FOJO LAW, P.L.L.C.



Dated: September 18, 2020                             /s/Robert M. Fojo
                                                      Robert M. Fojo, Esq. (#19792)
                                                      264 South River Road, Suite 464
                                                      Bedford, NH 03110
                                                      (603) 473-4694
                                                      rfojo@FojoLaw.com




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                                          VERIFICATION

           I, Ian B. Freeman, both individually and on behalf of Shire Free Church Monadnock,

  certify that the foregoing facts are true and correct to the best of my knowledge and belief.




                                                       Ian B. Freeman

  STATE OF NEW  HAMPSHIRE
            Florida

  COUNTY OF ___________
            Hillsborough

                                                                    14th day of September,
           The foregoing instrument was acknowledged before me this _____

  2020, by Ian B. Freeman.who personally appeared before me, Lee Smith, a notary public.




  (Seal)                                               Signature of Notary Public
                                                       Print, Type/Stamp Name of Notary
Notarized online using audio-video communication
  Personally known: _________
  OR Produced Identification: _________
  Type of Identification Produced: _________
                                   Driver's License
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                                                                        VERIFICATION

                                  I, Malaise Lindenfeld, both individually and on behalf of Pho Keene Great, LLC, certify

                   that the foregoing facts are true and correct to the best of my knowledge and belief.




                                                                                Malaise Lindenfeld

                   STATE OF NEW HAMPSHIRE

                   COUNTY OF                           Ck5Ji,Yl.lJ---
                                  The foregoing instrument was acknowledged before me this     K day of September,
                   2QIO, by Malaise Lindenfeld .
                  .. •

      ..,.

                    (,S,eal)-                                                   Signature ofNotaiy Public
...      �
             -�                                                                 Print, Type/Stamp Name ofNotary
  ·--...:.._ =·. �-:. �--   ---
                                  _." - ....   .....




                   P.er,�p_naity'known:                       ✓
                   OR Produced Identification: ----
                                                                                           ANN M. CONNOR
                   Type of Identification Produced: ____                             Notary Public - New Hampshire
                                                                                  My Commission Expires March 25, 2025
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                                        VERIFICATION

         I, Aria DiMezzo, both individually and on behalf of Reformed Satanic Church, certify

that the foregoing facts are true and correct to the best of my knowledge and belief.




STATE OF NEW HAMPSHIRE

COUNTY OF Ctle.sh,re...

         The foregoing instrument was acknowledged before me this _l!j_ day of September,

2020, by Aria DiMezzo.




(Seal)
                                                     Clu.fi           n </( 1)ol 11,silQ,{f)1 i
                                                     Signature of Notary Public
                                                     Print, Type/Stamp Name of Notary

Personally known: ____                                          COLLEEN H. KOLASIENSKI, Notary Public
                                                                       State of New Hampshire
OR Produced Identification:,_)(,_____                            My Commission Expires August 23, 2022
Type of Identification Produced: o/1:JO J2L
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